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                         EXHIBIT 1
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Tianlu Jia Redmon —C ERTIFIED C OURT I NTERPRETER FOR M ANDARIN ,
C ERTIFIED E NGLISH <> C HINESE T RANSLATOR , I NTERPRETER T RAINER
Houston, Texas 77055 | 832.942.2008 | Tianlu@TianluChinese.com | www.TianluChinese.com

INTERPRETATION AND TRANSLATION SPECIALIZATIONS
Simultaneous & Consecutive Interpretation, Mandarin < > English
Certified Translation, Simplified & Traditional Chinese < > English
   • Legal: trials, hearings, depositions, investigations, and litigation support documents.
   • Business: conferences, executive training, business missions, and hospital management.

PROJECT HIGHLIGHT
Legal
   • Interpreting for U.S. District Courts in Texas and Texas state courts. Go-to Mandarin interpreter for Fort
      Bend County Courts in Texas.
   • Interpreting depositions, including in patent infringement, commercial litigation, and high-stakes divorce
      cases.
   • Interpreted attorney-client meetings in cases related to DOJ’s China Initiative in U.S. District Courts in
      Texas and California between 2020 and 2022.
   • Interpreted for a federal grand jury and witness interviews in a sex trafficking case in the Eastern District of
      North Carolina.
   • Translating litigation support documents for a multi-million-dollar contract dispute.
   • Translated contracts for the development of a $500 million manufacturing facility built in the U.S.
   • Translated and edited expert reports and opinion letters by lawyers on patent law, contract law, and
      international arbitration.
   • Edited two non-provisional patent applications totaling over 20,000 words for Nike.
Conference
   • Interpreted for the Fourth U.S.-China Sister Cities Mayors’ Summit.
   • Interpreted a conference hosted by the Wilson Center China Environment Forum on green banking.
   • Interpreted for Ambassador Li Qiangmin at meetings held by the US-China Center for Medical Exchange.
   • Interpreted a conference at the International Food Information Council between U.S. and Chinese
       government representatives.
   • Interpreted meetings between ASTM International and Chinese government delegations.
   • Interpreted a conference and reception for Austin and Chengdu municipal leaders during the SXSW
       Conference and Festivals.
   • Interpreted for a week-long visit of school principals from Jiangsu, including seminars held by the University
       of North Carolina Center for International Understanding and visits to public schools in North Carolina.
   • Interpreted a three-day workshop on the U.S. credit system for leaders from the Provincial and Municipal
       Commissions of Development and Reform in Jiangsu.
   • Interpreted a week-long course at Georgetown University’s McDonough School of Business on global
       business leadership and international relations.
   • Interpreted multiple high-stakes meetings between high-net-worth Chinese business executives and
       University of North Carolina Global Development senior leaders.
   • Interpreted for the Mayo Clinic, Cleveland Clinic, and Johns Hopkins Hospital during visits by Chinese
       hospital leaders and medical providers.
Others
   • Interpreted for PetroChina (中石油) and CNOOC (中海油) during their visits to oil and gas service
       companies in Houston.
   • Interpreted for GAC Group (广汽集团) during their first exhibition at the Detroit Auto Show.
   • Interpreted a two-year-long weekly course for medical practitioners on nutritional therapy for cancer and
       degenerative diseases.
   • Interpreted for producers and directors of Chinese programming at NBC Golf Channel from 2016 to 2017
       during major tournaments.
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LANGUAGES, CERTIFICATIONS, AND AFFILIATIONS
  • Native speaker of Mandarin.
  • Qualified to interpret in U.S. Federal Courts.
  • Master Licensed Court Interpreter (#2290) in Texas; Certified Court Interpreter in Louisiana, North
     Carolina, and Oklahoma.
  • Language Chair and Grader, English-into-Chinese Certification Exam, American Translators Association.
  • Certified English-into-Chinese and Chinese-into-English Translator (#519714), ATA.
  • Member of the National Association of Judiciary Interpreters and Translators (NAJIT).
  • Member of the Texas Association of Judiciary Interpreters and Translators (TAJIT).
  • Public Relations Director (2018 – 2020), Houston Interpreters and Translators Association.
  • Administrator (2020 – present) and Assistant Administrator (2018 – 2020), ATA Chinese Language
     Division.
  • Leadership Council member (2015 – 2019), ATA Interpreters Division.
TEACHING EXPERIENCE
Adjunct Professor, Houston Community College                                                      Starting in 2024
    • Designing and teaching a course on legal interpretation, including skills, terminology, and ethics.
Mandarin Instructor and Tutor                                                                 10/2013 – Present
    • Teaching spoken and written Chinese to individual researchers and executives.
    • Taught spoken Mandarin and Chinese culture and business etiquette to corporate employees.
Adjunct Instructor, University of North Carolina at Chapel Hill, School of Medicine            8/2014 – 5/2016
    • Taught medical Mandarin terminology and Chinese culture to prepare UNC medical students for eliciting
        patients’ chief complaint, taking medical history, and conducting physical exams.
Adjunct Professor, St. Augustine’s University                                                  8/2013 – 5/2014
    • Designed and taught Elementary Chinese I and II courses to college students, focusing on verbal fluency
        and rudimentary knowledge of the written language.

SPEAKING ENGAGEMENTS
   • Enhancing Legal Interpreting with AI Tools: ChatGPT and Beyond
                                                                               ATA 64th Annual Conference, 2023
    •   Interpreter? Interrupter? How to Be an Effective Interpreter for Cross-Examination
                                                                             NAJIT 44th Annual Conference, 2023
    •   Mandarin Court Interpreter Skills Building (co-presenter)
                                                                                     Maryland State Courts, 2022
    •   Interpreter? Interrupter? How to Be an Effective Interpreter for Depositions
                                                                               ATA 61st Annual Conference, 2020
    •   A Translation Practice Group that Works” (co-presenter)
                                                                               ATA 60th Annual Conference, 2019
    •   From the Editor’s Desk: Challenges in English>Chinese Contract Translation (co-presenter)
                                                                               ATA 59th Annual Conference, 2018
    •   Putting the POWER of Language to Work for Your Business
                                                                    Asian American Chamber of Commerce, 2018
    •   Chinese Food, History, Etiquette, and Survival Phrases: Be Prepared for Your China Trip
                                                                           Arlington Chamber of Commerce, 2017
EDUCATION
St. John’s College Graduate Institute, Annapolis, Maryland
M.A., Liberal Arts, 2013, GPA: 3.5

Guangdong University of Foreign Studies, Guangzhou, China
B.A., English, 2011, GPA: 3.7, summa cum laude
